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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.      9:24-cr-80116-AMC-1
USA


                                         Plaintiff(s),

          vs.
Ryan Wesley Routh

                                         Defendant(s).
          ________________ !

                                                RELEASE OF EXHIBITS

               The- undersigned hereby acknowledges receipt of exhibit(s)
          listed below for the following reason(s):

                    D      Guns, jewelry, currency, drugs, explosives

                    D      Item Nos.
                           Overs iz_e_r_e_c_o_r_d_s--(l_a_r_g_e_r_t_h_a_n_l_O_"_x_1_2_"_x_1_5_'_') - - - - , - -


                    D Stored
                           Item Nos.
                                       _b_y_R_e_c_o_r_d_s_S_e_c_t_i_o_n_i_n_:_□
                                                                              ---M-ia_m_i-
                                                                                         □ --F-TL-
                                                                                                 □ --wP_B_□--


                    [ZJ Other (Explain) : _D_e....fp._a,._pe_r_e_xh_iu_b_it_l_._ _ _ _ _ _ _ _ _ _ _ __


         D          Attachments                        Signature:
                    (Exhibit list, Order of Court)
                                                       Print Name:  £ n,&ipjtS-te, -EJ1sabe+h
                                                       Agency or Firm: "tfdevQ \ ?u_\o\ 1C.. 3)-e-f--e\r'ctf'\

                                                       Address: 2 (°D s - BuS;±rCL \ 10t n   'P-.V"'<
          Exhibits Released by:
                                                                    s+e L(,O(') \},Jee ~L -364~                    J

                    (Deputy Clerk)                     Telephone:         S lo l ' L 7 ~- l °150
                                                       Date :              CJ { 2 S- / 2c/
          ORIGINAL - Court File
          cc: Records Section
              Courtroom Deputy
              Counsel of Record
